Case 1:22-cv-00080-TSK Document 43-1 Filed 12/05/23 Page 1 of 2 PageID #: 446




               IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                                     :
STEVEN BROWN, et al.,                                :
                                                     :
      Plaintiffs,                                    : Case No.:
                                                     : 1:22-cv-00080-TSK
v.                                                   :
                                                     :
THE BUREAU OF ALCOHOL, TOBACCO,                      :
FIREARMS AND EXPLOSIVES, et al.,                     :
                                                     :
      Defendants.                                    :
                                                     :

                              [PROPOSED] ORDER

      AND NOW, this ___ day of December, 2023, upon consideration of

Defendants’ Motion for a Stay of Injunction Pending Appeal, ECF No. 42, and

Plaintiffs’ Motion to Clarify, ECF No. 43, Defendants’ Motion is DENIED and

Plaintiffs’ Motion is GRANTED.

      It is further ORDERED that the Court’s judgment, ECF Nos. 40-41, is

amended to clarify that, Defendants, their officers, agents, servants, employees, all

persons in active concert or participation with them, and all who have notice of the

injunction, are ENJOINED from enforcing 18 U.S.C. §§ 922(b)(l) and (c)(1) and

their derivative regulations, against federal firearms licensees (“FFLs”). The Court’s

judgment is further amended to clarify that the injunction applies as to the named

individual Plaintiffs and institutional Plaintiff West Virginia Citizens Defense

League and its members.
Case 1:22-cv-00080-TSK Document 43-1 Filed 12/05/23 Page 2 of 2 PageID #: 447




                                         BY THE COURT:




                                         _____________________________

                                         Thomas S. Kleeh, U.S.D.J.
